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    12                             UNITED STATES DISTRICT COURT
    13                         CENTRAL DISTRICT OF CALIFORNIA
    14

    15   JEFFREY B. SEDLIK,                             Case No.: 2:21-cv-01102-DSF-MRW
    16                       Plaintiff,                 Hon. Dale S. Fischer
    17
                                                        Courtroom 7D
         v.
    18                                                  REPRESENTATION STATEMENT
         KATHERINE VON DRACHENBERG
    19   (a.k.a. “KAT VON D”), an individual;           Action Filed: February 7, 2021
         KAT VON D., INC., a California
    20   corporation; HIGH VOLTAGE                      Trial: January 23-26, 2024
         TATTOO, INC., a California corporation;
    21   and DOES 1 through 10, inclusive,
    22                       Defendants.
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                                          REPRESENTATION STATEMENT
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     1   TO THE COURT, ALL PARTIES, AND THEIR COUNSEL OF RECORD:
     2           Pursuant to Ninth Circuit Rule 3-2, Plaintiff Jeffrey B. Sedlik provides the
     3   following disclosure:
     4           Plaintiff Jeffrey B. Sedlik is represented by the following counsel:
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                 Defendants Katherine Von Drachenberg (a.k.a. “Kat Von D”), Kat Von D, Inc.,
    13
         and High Voltage Tattoo, Inc. are represented by the following counsel:
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    19    DATED: May 22, 2024                     GLASER WEIL FINK HOWARD
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                                                  By: /s/ Robert E. Allen
    22
                                                  ROBERT E. ALLEN
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                                                  Attorneys for Plaintiff
    25                                            JEFFREY B. SEDLIK
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                                         REPRESENTATION STATEMENT
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